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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION



Olga Martinez Torres, Linda Davis, Angel                 Civil Action No.: 4:18-cv-00983-O
Alberio and Fernando Posso, on behalf of
themselves and all others similarly situated,

                       Plaintiffs,

             vs.

American Airlines, Inc., the Employee Benefits
Committee and John/Jane Does 1-5

                       Defendant.



                              JOINT NOTICE OF SETTLEMENT

       The Parties to this litigation have reached an agreement for settlement of the case. They

are finalizing the necessary paperwork and anticipate completing the process very shortly. The

Parties respectfully request that the Court stay and take no action in this case prior to July 10, 2020

to give the Parties time to finalize the Settlement and procure the necessary signatures.



Respectfully submitted,

 /s/ Joe Kendall                                        /s/ Lars L. Berg
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                                                  and the Employee Benefits Committee




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                             CERTIFICATE OF CONFERENCE

       In accordance with Local Rule 7.1(b), the undersigned counsel certifies that the Joint

Notice of Settlement is presented jointly by all Parties. The Motion is unopposed.


                                                       /s/ Mark P. Kindall
                                                    MARK P. KINDALL



                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed with the Court’s electronic

case filing (ECF) system on July 1, 2020, which caused an electronic copy of this document to be

served on all counsel of record in this matter who have registered for ECF service.



                                                      /s/ Joe Kendall
                                                      JOE KENDALL




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